Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 1 of 8




                     EXHIBIT 1
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 2 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 3 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 4 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 5 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 6 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 7 of 8
Case 0:23-cv-62159-WPD Document 19-1 Entered on FLSD Docket 12/21/2023 Page 8 of 8
